Case 19-11466-MFW   Doc 1297-1   Filed 01/07/20   Page 1 of 3




                     Exhibit A
                    Case 19-11466-MFW           Doc 1297-1        Filed 01/07/20       Page 2 of 3




From:                            DiSabatino, Monique Bair <Monique.DiSabatino@saul.com>
Sent:                            Monday, December 2, 2019 9:17 AM
To:                              Martin, Marianne
Cc:                              Martinez, Melissa A.
Subject:                         RE: In re: Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al. (BK
                                 Case No. 19-11466) - Unpaid Invoices




Hi Marianne,

We have confirmed that the Debtors intend to pay these invoices next week.

Thanks,
Monique

MONIQUE BAIR DISABATINO | SAUL EWING ARNSTEIN & LEHR LLP | 302.421.6806

From: Martin, Marianne [mailto:MMartin@jmbm.com]
Sent: Thursday, November 21, 2019 5:35 PM
To: DiSabatino, Monique Bair
Subject: In re: Center City Healthcare, LLC d/b/a Hahnemann University Hospital, et al. (BK Case No. 19-11466) -
Unpaid Invoices

**EXTERNAL EMAIL** - This message originates from outside our Firm. Please consider carefully before
responding or clicking links/attachments.


Monique –

As per our discussion earlier this week, attached please find copies of our client’s postpetition
invoices that, as I understand, have yet to be paid by the above-referenced debtors. Please forward
the attached along to your clients’ finance team to circle up, and please let me know once you have a
status on payment/timing.

As always, I am available by phone if easier to discuss.

Best,
Marianne

Marianne S. Mortimer Martin | Partner
Jeffer Mangels Butler & Mitchell LLP | JMBM
1900 Avenue of the Stars, 7th Floor, Los Angeles, CA 90067
D: (310) 201-3531 | C: (310) 270-6257 | F: (310) 203-0567 | E: MMartin@JMBM.com




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                             Case 19-11466-MFW                       Doc 1297-1             Filed 01/07/20              Page 3 of 3


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"Saul Ewing Arnstein & Lehr LLP (saul.com)" has made the following annotations:
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